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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

             EDWIN C. PARKER,                          ::    MOTION TO VACATE
                 Movant,                               ::    28 U.S.C. § 2255
                                                       ::
                   v.                                  ::    CRIMINAL NO.
                                                       ::    1:06-CR-0137-RWS-ECS-5
             UNITED STATES OF AMERICA,                 ::
                 Respondent.                           ::    CIVIL ACTION NO.
                                                       ::    1:09-CV-0976-RWS

                                                  ORDER

                   This matter is currently before the Court for consideration of Movant Edwin

             C. Parker’s motion to vacate, set aside, or correct sentence pursuant to 28 U.S.C.

             § 2255 (Doc. 411), the Government’s response thereto (Doc. 421), and Movant’s

             traverse to the Government’s response (Doc. 424).

                                      I. PROCEDURAL HISTORY

                   In a superceding indictment, a federal grand jury charged Movant and four

             co-defendants with conspiracy to possess with the intent to distribute at least five

             kilograms of cocaine, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(A)(ii). (Doc.

             115). Movant pled guilty, pursuant to a negotiated plea agreement. (Doc. 166).

             The plea agreement provides that Movant “voluntarily and expressly waives the

             right to appeal the conviction and sentence and the right to collaterally attack his




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             sentence in any post-conviction proceeding, including a § 2255 proceeding, on any

             ground,” unless his sentence is “higher than the otherwise applicable advisory

             sentencing guideline range” or the government appeals his sentence. (Id., plea

             agreement 4-5). Movant signed the plea agreement and a separate certification

             section, which states in relevant part:

                    I understand that the appeal waiver contained in the Plea Agreement
                    will prevent me, with the narrow exceptions stated, from appealing
                    my sentence or challenging my sentence in a post-conviction
                    proceeding. No one has threatened or forced me to plead guilty, and
                    no promises or inducements have been made to me other than those
                    discussed in the Plea Agreement.

             (Id. at 6-7).

                    At the plea hearing, Movant was sworn in and confirmed that he had not

             consumed any alcohol, narcotic drugs, or medicines within the past twenty-four

             hours and had not recently been treated for any mental illness or addiction. (Doc.

             347 at 2-3). The Court explained to Movant the rights he was giving up in

             pleading guilty, and Movant stated that he understood and was willing to give up

             those rights. (Id. at 4-6). Movant acknowledged that he was not entering into the

             guilty plea under any threats or coercion, and that no other promises or

             inducements had been made to him other than those contained in the plea



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             agreement. (Id. at 9). The Government described the elements of Movant’s

             offense and stated what the evidence would show if the case went to trial. (Id. at

             10-12). Movant confirmed that he understood the elements of his offense and

             agreed that he committed the crime charged in the superceding indictment. (Id. at

             12-13). Movant acknowledged that his offense carried a statutory maximum

             sentence of life imprisonment and a mandatory minimum sentence of twenty (20)

             years of imprisonment. (Id. 20). The Court also discussed the Sentencing

             Guidelines with Movant and that the Guideline recommendation is only advisory.

             (Id. at 20-21, 24). Next, the Court reviewed the terms of the sentence-appeal

             waiver and its consequences. (Id. at 21-22). Movant acknowledged that he

             understood the effect of the waiver. (Id. at 22). The Court explained to Movant

             that no one could promise him that he would get a twenty-year sentence, and

             Movant confirmed that he understood that he would be bound by his guilty plea,

             even if he is dissatisfied with the sentence he receives. (Id. at 23-24). Movant

             confirmed that he had had enough time to talk with his counsel about his decision

             to plead guilty and was satisfied with counsel’s representation. (Id. at 24-25). The

             Court accepted Movant’s guilty plea. (Id. at 25-26).




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                   On July 18, 2007, this Court sentenced Movant to 292 months of

             imprisonment. (Doc. 298). Movant filed a timely appeal. (Doc. 300). On

             February 14, 2008, the United States Court of Appeals for the Eleventh Circuit

             granted the Government’s motion to dismiss the appeal based on Movant’s valid

             sentence-appeal waiver. (Doc. 354).

                   On April 10, 2009, Movant, proceeding pro se, filed the instant motion to

             vacate his sentence, claiming that his counsel was ineffective for: (1) erroneously

             advising him that he could challenge the firearm enhancement on appeal;

             (2) failing to inform the Court at sentencing that the Government was required to

             make his cooperation known and that it had discretion to run his federal sentence

             concurrently with his undischarged state sentence; (3) failing to adequately object

             at sentencing to the firearm enhancement; and (4) failing to argue at sentencing

             that 240 months of imprisonment was sufficient under the 18 U.S.C. § 3553(a)

             sentencing factors. (Doc. 411 at 5-6, Mem. 3-10). The Government argues that

             Movant’s claims are barred by his valid sentence-appeal waiver. (Doc. 421).

             Movant replies that the appeal waiver does not bar his claims because he did not

             fully understand it, as counsel had led him to believe that he could appeal the

             firearm enhancement. (Doc. 424 at 2-5).

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                                              II. DISCUSSION

             A.    General standards

                   A federal prisoner may file a motion to vacate his sentence “upon the ground

             that the sentence was imposed in violation of the Constitution or laws of the United

             States, or that the court was without jurisdiction to impose such sentence, or that

             the sentence was in excess of the maximum authorized by law, or is otherwise

             subject to collateral attack.” 28 U.S.C. § 2255(a). It is well-settled that “to obtain

             collateral relief, a prisoner must clear a significantly higher hurdle than would exist

             on direct appeal.” United States v. Frady, 456 U.S. 152, 166 (1982).

                   An evidentiary hearing is not warranted if “the motion and the files and

             records of the case conclusively show that the prisoner is entitled to no relief.” 28

             U.S.C. § 2255(b). See Diaz v. United States, 930 F.2d 832, 834 (11th Cir. 1991)

             (noting that, although prisoner seeking collateral relief is entitled to evidentiary

             hearing if relief is warranted by facts he alleges, which court must accept as true,

             hearing is not required if record conclusively demonstrates that no relief is

             warranted). Thus, no hearing is required where, as here, the case is ready for

             disposition.




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             B.    Sentence-appeal waiver

                   “It is well-settled that sentence-appeal waivers are valid if made knowingly

             and voluntarily.” Williams v. United States, 396 F.3d 1340, 1341 (11th Cir.), cert.

             denied, 546 U.S. 902 (2005). “[F]or a sentence-appeal waiver to be enforceable,

             the government must show that either (1) the district court specifically questioned

             the defendant concerning the sentence appeal waiver during the [plea] colloquy,

             or (2) it is manifestly clear from the record that the defendant otherwise understood

             the full significance of the waiver.” Id. (Internal quotations omitted). “[A] valid

             sentence-appeal waiver, entered into voluntarily and knowingly, pursuant to a plea

             agreement, precludes [a collateral attack upon] the sentence through a claim of

             ineffective assistance of counsel during sentencing.” Id. at 1342.

                   This Court finds that Movant’s assertion that he misunderstood the sentence-

             appeal waiver is belied by the record. At the plea hearing in response to the

             Court’s inquiry, Movant acknowledged that he understood the full significance of

             the waiver. (Doc. 347at 21-22). Movant’s counsel then stated that he had

             specifically discussed the sentence-appeal waiver with Movant, who appeared to

             understand it. (Id. at 22). “[T]he representations of the defendant, his lawyer, and

             the prosecutor at . . . a [plea] hearing, as well as any findings made by the judge

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             accepting the plea, constitute a formidable barrier in any subsequent collateral

             proceedings. Solemn declarations in open court carry a strong presumption of

             verity.” Blackledge v. Allison, 431 U.S. 63, 73-74 (1977). Accordingly, the Court

             finds that Movant voluntarily and intelligently waived his right to appeal his

             conviction and sentence and to pursue any other collateral post-conviction relief

             and, thus, is barred from raising his specific claims that counsel was ineffective

             during sentencing.

                                          III. CONCLUSION

                   For the foregoing reasons, this Court finds that the record conclusively

             demonstrates that Movant is not entitled to 28 U.S.C. § 2255 relief, and thus, no

             evidentiary hearing is required. See Diaz, 930 F.2d at 834. Accordingly, the

             Movant’s motion to vacate his sentence pursuant to 28 U.S.C. § 2255 (Doc. 411)

             is DENIED.

                   IT IS SO ORDERED this 11th day of June, 2009.


                                                    ________________________________
                                                    RICHARD W. STORY
                                                    United States District Judge




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